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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                                    SOUTHERN DIVISION
                                          LONDON

     AMY JACKSON-BOLINGER, et al.,                   )
                                                     )
          Plaintiffs,                                )              No. 6:19-CV-152-REW
     v.                                              )
                                                     )
     AMERICORE HEALTH, LLC, et al.,                  )                      ORDER

          Defendants.
                                           *** *** *** ***

          The Court ordered the parties to show cause for their failure to comply with DE 45 and to

 remedy the deficit. DE 74. Only Plaintiffs responded, noting that the remaining Defendants “have

 been inactive and unrepresented by counsel.” DE 75 at 1. They further requested the Court to

 dismiss the action pursuant to Federal Rule of Civil Procedure 41 (a)(2), “with prejudice to their

 right to re-file their claims.” DE 76 at 1. The Court accepts the explanation and DISCHARGES

 DE 74. Moreover, pursuant to Rule 41 (a)(2)1, the Court GRANTS DE 76 on the terms requested.

 The Court DIRECTS the clerk to STRIKE this matter from the Court’s active docket, as

 dismissed with prejudice.

          This the 25th day of January, 2021.




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   “A plaintiff who moves to dismiss its action via court order . . . is subject to the discretion of the
 district court. . . . The district court may deny the motion, require that a dismissal be with prejudice,
 or impose any other conditions that it ‘deems necessary.’” Wellfount, Corporation v. Hennis Care
 Centre of Bolivar, Inc., 951 F.3d 769, 774 (6th Cir. 2020) (citing and quoting Bridgeport Music,
 Inc. v. Universal-MCA Music Publ’g, Inc., 583 F.3d 948, 953–54 (6th Cir. 2009)).
